66 F.3d 316
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James E. SIGLEY, Petitioner-Appellant,v.WARDEN, West Virginia Penitentiary at Moundsville, WestVirginia, Respondent-Appellee.
    No. 95-6689.
    United States Court of Appeals, Fourth Circuit.
    Sept. 14, 1995.
    
      Ronnie Lee Tucker, Fairmont, WV, for Appellant.
      Stephen Raymond Van Camp, Office of the Attorney General of West Virginia, Charleston, WV, for Appellee.
      Before WIDENER, HALL, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Sigley v. Warden, West Virginia Penitentiary, No. CA-94-27-E (N.D.W.Va. Mar. 28, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    